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      Attorneys for Defendant Intuitive Surgical, Inc.
16
                                  UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18
                                      SAN FRANCISCO DIVISION
19

20    SURGICAL INSTRUMENT SERVICE                           Case No. 3:21-cv-03496-AMO
      COMPANY, INC.,
21                   Plaintiff,
            v.
22                                                          DECLARATION OF PAUL D.
      INTUITIVE SURGICAL, INC.,                             BRACHMAN IN SUPPORT OF
23                 Defendant.                               DEFENDANT’S TRIAL BRIEF
24
                                                            The Honorable Araceli Martínez-Olguín
25

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                        Brachman Declaration in Support of Defendant’s Trial Brief
                                         3:21-cv-03496-AMO
     Case 3:21-cv-03496-AMO          Document 280-1         Filed 10/28/24      Page 2 of 4




1     I, PAUL D. BRACHMAN, declare as follows:

2            1.      I am an attorney licensed to practice in New York and the District of Columbia,

3     and am admitted pro hac vice to practice before this Court. I am a partner with the law firm of

4     Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul, Weiss”), counsel for Intuitive Surgical,

5     Inc. (“Intuitive”) in this matter. I have personal knowledge of the facts set forth herein, and if

6     called to testify, I could and would testify competently hereto.

7            2.      Attached to this declaration as Exhibit 1 is a true and correct copy of a Master

8     Sales, License, and Service Agreement between Intuitive Surgical and Northwestern Memorial

9     Healthcare dated December 16, 2019 and produced at Intuitive-01862315-29.

10           3.      Attached to this declaration as Exhibit 2 is a true and correct copy of a letter

11    dated August 28, 2018 and produced at Restore-00086086-92.

12           4.      Attached to this declaration as Exhibit 3 is a true and correct copy of a letter

13    dated November 15, 2018 and produced at Intuitive-00478439-44.

14           5.      Attached to this declaration as Exhibit 4 is a true and correct copy of a letter

15    dated February 12, 2019 and produced at Restore-00025577-84.

16           6.      Attached to this declaration as Exhibit 5 is a true and correct copy of a letter

17    dated April 16, 2019 and produced at REBOTIX145274-79.

18           7.      Attached to this declaration as Exhibit 6 is a true and correct copy of the “Da

19    Vinci Instruments” webpage on the Intuitive website. The webpage is available at

20    https://www.intuitive.com/en-us/products-and-services/da-vinci/instruments.

21           8.      Attached to this declaration as Exhibit 7 is a true and correct copy of the Final

22    Pretrial Order in Restore Robotics, LLC v. Intuitive Surgical, Inc., No. 19-cv-00055 (N.D. Fla.),

23    Dkt. 223, dated January 17, 2023.

24           9.      Attached to this declaration as Exhibit 8 is a true and correct copy of excerpts of

25    the transcript of the Pretrial Conference proceedings in Restore Robotics, LLC v. Intuitive

26    Surgical, Inc., No. 19-cv-00055 (N.D. Fla.), dated January 13, 2023.

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                         Brachman Declaration in Support of Defendant’s Trial Brief
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     Case 3:21-cv-03496-AMO            Document 280-1      Filed 10/28/24      Page 3 of 4




1            10.     Attached to this declaration as Exhibit 9 is a true and correct copy of the Expert

2     Report of Dr. Russell L. Lamb dated December 2, 2022, which was previously filed on the

3     docket in this matter at Dkt. 230-04.

4            11.     Attached to this declaration as Exhibit 10 is a true and correct copy of the

5     Amended Complaint in Coronavirus Reporter v. Apple, Inc., No. 21-cv-05567 (N.D. Cal.), Dkt.

6     41, dated September 6, 2021.

7            12.      Attached to this declaration as Exhibit 11 is a true and correct copy of SIS’s

8     Responses to Intuitive’s Second Set of Requests for Admission and Third Set of Interrogatories,

9     dated October 16, 2024.

10           I declare under the penalty of perjury under the laws of the United States that the

11    foregoing is true and correct.

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       Dated: October 28, 2024                         By: /s/ Paul D. Brachman
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15                                                     PAUL D. BRACHMAN

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       Brachman Declaration in Support of Defendant’s Motion In Limine No. 2 To Exclude Deutsche
                              Bank Analyst Reports and Related Testimony
                                          3:21-cv-03496-AMO
     Case 3:21-cv-03496-AMO          Document 280-1       Filed 10/28/24      Page 4 of 4



                                         FILER’S ATTESTATION
1

2            I, Kenneth A. Gallo, am the ECF User whose ID and password are being used to file this

3     document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that the signatory

4     identified above has concurred in this filing.

5      Dated: October 28, 2024                         By: /s/ Kenneth A. Gallo
                                                           Kenneth A. Gallo
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       Brachman Declaration in Support of Defendant’s Motion In Limine No. 2 To Exclude Deutsche
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                                          3:21-cv-03496-AMO
